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                  7 LICENSING IP INTERNATIONAL S.AR.L.
                  8                            UNITED STATES DISTRICT COURT
                  9                       CENTRAL DISTRICT OF CALIFORNIA
                 10
                 11 LICENSING IP INTERNATIONAL                     CASE NO. 2:15-cv-02494
                 12 S.AR.L.,
                    company,
                             a Luxembourg limited liability
                                                                   COMPLAINT FOR APPEAL AND
                 13                                                DE NOVO REVIEW OF DECISION
                                  Plaintiff,                       OF TRADEMARK TRIAL AND
                 14                                                APPEAL BOARD
                           v.
                 15 MICHELLE K. LEE, in her official               Demand For Jury Trial

                 16 capacity as Director of the United States
                    Patent and Trademark Office,
                 17               Defendant.
                 18
                 19
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    Mitchell     28
  Silberberg &
   Knupp LLP
                                   COMPLAINT FOR APPEAL AND DE NOVO REVIEW OF DECISION
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                                         OF TRADEMARK TRIAL AND APPEAL BOARD
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                  1         Plaintiff LICENSING IP INTERNATIONAL S.AR.L. (“Licensing IP” OR
                  2 “Plaintiff”) for its Complaint against Defendant MICHELLE LEE, in her official
                  3 capacity as Director of United States and Patent and Trademark Office
                  4 (“Defendant”), states as follows:
                  5
                  6                            I.      JURISDICTION AND VENUE
                  7          1.    This Court has original jurisdiction pursuant to 28 U.S.C. §§1331 and
                  8 1338 as it involves claims presenting federal questions under 15 U.S.C. §
                  9 1071(b)(1) and 1121(a).
                 10          2.    Venue is proper in this district pursuant to 28 U.S.C. §§ 1361 and
                 11 1391(e) because the a substantial part of the events or omissions giving rise to the
                 12 claim occurred, and a substantial part of property that is the subject of the action is
                 13 situated, the action does not involve real property, and the defendant is an officer
                 14 of the United States or any agency thereof acting in her official capacity.
                 15
                 16                                     II.     THE PARTIES
                 17         3.     Plaintiff        LICENSING      IP    INTERNATIONAL       S.AR.L.    is   a
                 18 Luxembourg limited liability company with a principal place of business at 32
                 19 Boulevard Royal, Luxembourg, Luxembourg                  L-2449, and is a successor in
                 20 interest to Manwin Licensing International Sàrl, the Appellant in In re Manwin
                 21 Licensing International Sàrl.             Licensing IP’s affiliates and licensees include
                 22 Playboy Plus Entertainment, Inc., which has its principal place of business in Los
                 23 Angeles, California.
                 24         4.     Upon information and belief, Defendant is Michelle Lee, in her
                 25 official capacity as Director of United States and Patent and Trademark Office.
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   Knupp LLP
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                  1                             III.    NATURE OF ACTION
                  2         5.     This is an action for judicial review of a final decision of the
                  3 Trademark Trial and Appeal Board (“TTAB”) under the Lanham Act, 15 U.S.C. §
                  4 1051 et seq.
                  5
                  6                          IV.     FACTUAL BACKGROUND
                  7         6.     On August 11, 2011, Licensing IP’s predecessor filed Application
                  8   Serial No. 85/396049 at the United States Patent and Trademark Office
                  9   (“USPTO”), seeking registration of the mark JUICYBOYS for use on and in
                 10   connection with:
                 11         •      On-line retail store services featuring downloadable videos in the field
                 12                of gay male adult entertainment (Class 35);
                 13         •      Video-on-demand transmission services; video broadcasting;
                 14                electronic, electric, and digital transmission of voice, data, and
                 15                images, all in the field of gay male adult entertainment (Class 38); and
                 16         •      Entertainment services, namely, providing a website featuring non-
                 17                downloadable video, photographs, images, audio, and text in the field
                 18                of gay male entertainment via a global computer network (Class 41)
                 19 (the “Mark”).
                 20         7.     However, the Examining Attorney refused Licensing IP’s registration
                 21 on the ground that it was likely to be confused with Registration No. 3,555,161, for
                 22 the mark JUICY in connection with “entertainment services, namely, providing
                 23 sexually explicit video programming via cable, satellite and global interactive
                 24 networks”.
                 25         8.     After the Examining Attorney made the refusals final, Licensing IP’s
                 26 predecessor appealed the Examining Attorney’s refusal to register the Mark.
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                  1         9.     On February 3, 2015, the TTAB issued its decision, affirming the
                  2 Examining Attorney’s refusal to register the mark. A copy of the decision is
                  3 attached as Exhibit A.
                  4         10.    The TTAB erred in its conclusion. The TTAB should not have
                  5 affirmed the Examining Attorney’s refusal to register the mark and concluded that
                  6 there was a likelihood of confusion between the Mark and Registration No.
                  7 3,555,161 for the mark JUICY, including, without limitation, because (1) the
                  8 services at issue are not sufficiently related; (2) the marks at issue are not are not
                  9 sufficiently similar; and (3) it did not give sufficient weight to the extensive third
                 10 party use of “juicy” trademarks.
                 11         11.    Pursuant to 15 U.S.C. § 1071(b)(1), and as a result of the TTAB’s
                 12 erroneous decision to refuse registration of Licensing IP’s mark, Licensing IP is
                 13 entitled to de novo review, based upon the evidence of record and any additional
                 14 evidence to be introduced into the record of this matter.
                 15
                 16                              V.     CAUSE OF ACTION
                 17                                        COUNT I
                 18         12.    Licensing IP incorporates the preceding paragraphs 1-11 as though
                 19 fully set forth herein.
                 20         13.    Licensing IP is dissatisfied with the decision of the TTAB affirming
                 21 the refusal of the Examining Attorney to register the Mark and its erroneous
                 22 conclusion that the Mark is likely to be confused with Registration No. 3,555,161.
                 23         14.    The TTAB decision of February 13, 2015 should be reversed and
                 24 vacated, and an order should be entered directing the USPTO to register
                 25 Applicant’s Mark as a trademark on the Principal Register based upon U.S.
                 26 Trademark Application Serial No. 85/396049.
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   Knupp LLP
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                  1                          VI.   REQUEST FOR RELIEF
                  2        Wherefore, Licensing IP requests the following relief:
                  3        25.   That the Court reverse the TTAB’s February 13, 2015 decision in the
                  4 matter of In re Manwin Licensing International Sàrl. regarding Application Serial
                  5 No. 85/396049 referenced herein, pursuant to 15 U.S.C. § 1071(b);
                  6        26.   That the Court declare the Licensing IP is entitled to registration of
                  7 the Mark on the Principal Register based upon U.S. Trademark Application Serial
                  8 No. 85/396049;
                  9        27.   That the Court order the USPTO to register the Mark on the Principal
                 10 Register based upon U.S. Trademark Application Serial No. 85/396049, pursuant
                 11 to 15 U.S.C. § 1119; and
                 12        28.   Any and all other relief that the Court deems just and proper.
                 13
                 14 DATED: April 3, 2015            MITCHELL SILBERBERG & KNUPP LLP
                 15
                 16                                 By: /s/ Alexa L. Lewis
                 17                                     Marc E. Mayer
                                                        Alexa L. Lewis
                 18                                     Attorneys for Plaintiff,
                                                        LICENSING IP INTERNATIONAL S.AR.L.
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    Mitchell     28
  Silberberg &
   Knupp LLP
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                                  COMPLAINT FOR APPEAL AND DE NOVO REVIEW OF DECISION
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                  1                           DEMAND FOR JURY TRIAL
                  2
                          Plaintiff requests a jury for all issues so triable.
                  3
                  4 DATED: April 3, 2015              MITCHELL SILBERBERG & KNUPP LLP
                  5
                  6                                   By: /s/ Alexa L. Lewis
                                                          Marc E. Mayer
                  7                                       Alexa L. Lewis
                  8                                       Attorneys for Plaintiff,
                                                          LICENSING IP INTERNATIONAL S.AR.L.
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    Mitchell     28
  Silberberg &
   Knupp LLP
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                                  COMPLAINT FOR APPEAL AND DE NOVO REVIEW OF DECISION
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                             EXHIBIT A




                             EXHIBIT A
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                          THIS OPINION IS NOT A
                          PRECEDENT OF THE TTAB

                                                                  Mailed:
                                                                  February 3, 2015


             UNITED STATES PATENT AND TRADEMARK OFFICE
                               ________

                        Trademark Trial and Appeal Board
                                    ________

                       In re Manwin Licensing International Sàrl
                                       ________

                                  Serial No. 85396049
                                         _______

     Alexa L. Lewis of Mitchell, Silberberg & Knupp, LLP for Manwin Licensing
     International Sàrl.

     Eli J. Hellman, Trademark Examining Attorney, Law Office 112 (Angela
     Bishop Wilson, Managing Attorney).
     _______

     Before Seeherman, Taylor and Wellington, Administrative Trademark
     Judges.

     Opinion by Seeherman, Administrative Trademark Judge:

           Manwin Licensing International Sàrl has appealed from the final

     refusal of the Trademark Examining Attorney to register JUICYBOYS, in

     standard characters, for the following services:

           On-line retail store services featuring downloadable videos in
           the field of gay male adult entertainment (Class 35);

           Video-on-demand transmission services; video broadcasting;
           electronic, electric, and digital transmission of voice, data, and
           images, all in the field of gay male adult entertainment (Class
           38); and




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            Entertainment services, namely, providing a website featuring
            non-downloadable video, photographs, images, audio, and text in
            the field of gay male entertainment via a global computer
            network (Class 41).1

            Registration has been refused pursuant to Section 2(d) of the

     Trademark Act, 15 U.S.C. § 1052(d), on the ground that Applicant’s mark so

     resembles the mark JUICY, in standard characters, registered for

     “entertainment     services,   namely,       providing   sexually    explicit   video

     programming via cable, satellite and global interactive networks” in Class

     41,2 that as used in connection with Applicant’s identified services, it is likely

     to cause confusion or mistake or to deceive.

            As a preliminary matter, we point out that the application, when it

     was briefed on appeal, was for services in Classes 38, 41 and 42. The Class 38

     and 41 services were as indicated above, and the Class 42 services were

     identified as “providing a website allowing users to download videos in the

     field of gay male adult entertainment.” After the appeal was briefed and

     ready for decision the Examining Attorney requested remand because, inter

     alia, he believed that the identification of services in Class 42 was indefinite

     and was beyond the scope of the services set forth in the original application.

     The request for remand was granted, and Applicant ultimately amended the

     application to delete the services in Class 42 and to add the services in Class


     1  Application Serial No. 85396049, filed August 11, 2011. The application asserts
     first use and first use in commerce in February 2011 for the services in each class.
     2 Registration No. 3555161, issued December 30, 2008; Section 8 affidavit accepted;

     Section 15 affidavit acknowledged.


                                              2




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      35. We presume that this was treated as merely a reclassification and

      rewording of the Class 42 services, because the Examining Attorney accepted

      the amendment, something that would not have been allowed if the

      identification broadened the services as they had been identified in Class 42.

      Nor did the Examining Attorney request remand to submit evidence

      regarding the issue of likelihood of confusion with respect to the services

      identified in Class 35; again this indicates that the Class 35 services are

      effectively the same as the services that had been erroneously classified in

      Class 42. After the amendment and reclassification of services, supplemental

      briefing on the issue of likelihood of confusion with respect to the Class 35

      services was allowed.3

             Our determination of the issue of likelihood of confusion is based on an

      analysis of all of the probative facts in evidence that are relevant to the

      factors set forth in In re E. I. du Pont de Nemours & Co., 476 F.2d 1357, 177

      USPQ 563 (CCPA 1973). See also, In re Majestic Distilling Co., Inc., 315 F.3d

      1311, 65 USPQ2d 1201 (Fed. Cir. 2003).

             We first consider the du Pont factor of the similarity of the services,

      guided by the well-established principle that the respective goods or services

      do not have to be identical or even competitive in order to find that there is a

      likelihood of confusion; rather, it is sufficient that the respective goods or

      3 Although the Board order allowing supplemental briefing limited such briefing to

      the Class 35 services, the Examining Attorney’s supplemental appeal brief discussed
      the issue with respect to all three classes of services. In accordance with the Board’s
      December 15, 2014 order, any arguments in the supplemental brief regarding the
      services in Classes 38 and 41 have not been considered.


                                                3




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      services are related in some manner, or the conditions surrounding their

      marketing are such that they will be encountered by the same purchasers

      under circumstances that would give rise to the mistaken belief that they

      originate from the same source. See Coach Servs., Inc. v. Triumph Learning

      LLC, 668 F.3d 1356, 101 USPQ2d 1713, 1722 (Fed. Cir. 2012). The services

      identified in the cited registration are “entertainment services, namely

      providing sexually explicit video programming via cable, satellite and global

      interactive networks.” Applicant’s services, although some are listed in

      different classes, are virtually identical; to the extent that they are not

      identical, by their very nature they are closely related. That is, Applicant’s

      entertainment services in Class 41 are providing a web site by which non-

      downloadable video can be viewed. This is essentially the same as the

      registrant’s entertainment services of providing video programming via

      global interactive networks, such that these entertainment services must be

      considered legally identical.4 Applicant’s video-on-demand transmission

      services,   broadcasting    services   and    electronic,   electric    and   digital

      transmission services in Class 38 are similar to the registrant’s providing

      sexually explicit video programming via cable, satellite and global interactive

      networks. Although the services are described in somewhat different terms,

      with the focus of Applicant’s services on the transmission of the content, and

      4 Applicant has argued that there is no evidence that the registrant’s services are
      used in connection with the Internet. Request for reconsideration, p. 5, supplemental
      brief, 16 TTABVUE 14. However, the language of the identification in the
      registration, stating that the video programming is provided via “global interactive
      networks,” would encompass providing the services via the Internet.


                                               4




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      the focus of the registrant’s services on the provision of the content that is

      transmitted, the similarity of the services, and their complementary nature,

      is obvious. The relatedness of the services is further shown by the fact that

      Applicant provides both types of services, not only in connection with the

      applied-for mark, but for other marks, as evidenced by its registration No.

      4228853 for MEN.COM for video-on-demand transmission services and video

      broadcasting in Class 38 and entertainment services, namely, providing a

      website featuring non-downloadable video, photographs, images, audio, and

      text in the field of adult entertainment via a global computer network in

      Class 41.

            Applicant’s Class 35 services of providing on-line retail store services

      featuring downloadable videos and the registrant’s Class 41 services are also,

      based on their identifications alone, highly similar. Applicant’s identification,

      in fact, is really another way of describing the registrant’s services, since both

      services involve video programming provided via the Internet. As with the

      Class 38 services, the real difference in Applicant’s Class 35 services and the

      registrant’s services is the focus of the services, with Applicant’s being

      described as “on-line retail store services” in order for them to qualify for

      classification in Class 35, while the registrant’s are described as

      entertainment services in order to qualify as services in Class 41. However,

      consumers are not going to consider such nuances regarding classification, or

      consider the distinction between videos that are bought and downloaded from




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      the Internet or those that are watched on a computer. To consumers, the

      services will be essentially the same.

            Because of the complementary nature of Applicant’s video-on-demand,

      video broadcasting, and electronic, electric and digital transmission services,

      and its providing on-line retail store services featuring downloading of videos,

      and the registrant’s service of providing programming, we find that

      Applicant’s Class 35 and Class 38 services are related to the registrant’s

      services. In further support of this conclusion, we note that the Examining

      Attorney has submitted numerous third-party registrations to show the

      relatedness of the Class 38 and Class 41 services. These registrations list

      both services of the type described in Applicant’s application in Class 38 and

      those in the cited registration. See, for example:

            Registration No. 4056014 for, video-on-demand transmission
            services (Class 38) and provision of non-downloadable films and
            television programmes5 via a video-on-demand service (Class
            41);

            Registration No. 4145272 for, inter alia, video-on-demand
            transmission services via the internet and streaming of audio,
            visual and audiovisual material via a global computer network
            in Class 38 and education and entertainment services namely,
            providing a website featuring informational, non-downloadable
            audio and visual presentations in particular fields, providing a
            website featuring audio and visual content [including motion
            pictures and videos in particular fields] in Class 41;

            Registration No. 4152802 for, inter alia, broadcasting services
            and provision of telecommunication access to video and audio
            content featuring adult entertainment provided via a video-on-
            demand service via the Internet in Class 38, and production of

      5 Despite the British spelling, the registrant is Sears Brands, LLC, an Illinois
      company, and the registration reflects use of the mark in commerce.


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            DVDs, videotapes and television programs featuring adult
            entertainment, providing an online adult website featuring
            videos in the field of adult entertainment, digital media namely
            a website featuring adult entertainment, and entertainment
            services in the nature of providing a website on the global
            computer networks featuring entertainment in the field of adult
            entertainment in Class 41;

            Registration No. 4090498 for, inter alia, video streaming
            services via the Internet in Class 38 and provision of non-
            downloadable films and movies via a video-on-demand service in
            Class 41;

            Registration No. 4146707 for, inter alia, cable television
            broadcasting services, provision of telecommunication access to
            video and audio content provided via video-on-demand,
            interactive television, pay per view and pay television
            subscription services, streaming of video and audio material via
            the Internet in Class 38 and provision of non-downloadable
            films, movies and television programs via an online video-on-
            demand service in Class 41; and

      Third-party registrations which individually cover a number of different

      items and which are based on use in commerce serve to suggest that the

      listed goods and/or services are of a type which may emanate from a single

      source. See In re Albert Trostel & Sons Co., 29 USPQ2d 1783 (TTAB 1993).

            We note that only three of the third-party registrations include Class

      35 services of the nature of Applicant’s identified Class 35 services, and also

      include services similar to those of the registrant, to wit:

            Registration No. 4145084 for, inter alia, retail store services
            available through computer communications featuring … gift
            certificates for downloadable films and downloadable television
            programs (Class 35); video-on-demand transmission services
            (Class 38); and entertainment services in the nature of an
            ongoing internet IPTV (Internet Protocol Television) segment in
            [various fields, including adult entertainment], provision of non-




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            downloadable films, and television programmes6 via a video-on-
            demand service (Class 41);

            Registration No. 3748782 for, inter alia, computerized on-line
            retail store and ordering services in the field of adult sexual
            aids, … pre-recorded media featuring theatrical films in the
            nature of … adult films … in Class 35; video on demand
            transmission services in Class 38 and entertainment services,
            namely, distribution of … adult entertainment … via a global
            communications network, cable television, satellite and
            television broadcasting in Class 41; and

            Registration No. 3884412 for, inter alia, online retail store
            services in the field of pre-recorded media featuring audio,
            visual     and     multi-media    recordings featuring   adult
            entertainment in Class 35; broadcasting programs via the
            internet in Class 38; and entertainment services, namely
            providing a website featuring videos, film clips, photographs,
            multimedia materials, magazines, and television programs in
            the field of adult entertainment.

      Three third-party registrations would normally not be a sufficient basis on

      which to find the services to be related. Cf. In re Federated Department Stores

      Inc., 3 USPQ2d 1541, 1542 n.2 (TTAB 1987) (“we must assume that the three

      excerpts selected provide the best support of the Examining Attorney’s

      refusal to register available from that source.”); see also, In re Homes & Land

      Publishing Corp., 24 USPQ2d 1717, 1718 (TTAB 1992); In re The Monotype

      Corp. PLC, 14 USPQ2d 1070, 1071 (TTAB 1989). However, we do not rely

      solely on these third-party registrations. Rather, as we have discussed, it is

      the nature of the services that causes us to find them related, and the three

      third-party registrations merely bolster that conclusion.



      6   Although the identification uses the British spelling of “programmes,” the
      registration indicates that the mark was used in commerce for the services.


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            We recognize that Applicant has specifically limited the content of its

      services to gay male adult entertainment, while the registrant’s identification

      refers more generally to “sexually explicit” video programming. Applicant has

      submitted evidence to show that the registrant’s programming would appeal

      to heterosexual men, and argues that because the consumers for the

      respective services are different, there is no likelihood of confusion. The

      problem with this argument is that we must determine the issue of likelihood

      of confusion based on the services as they are identified in the application

      and cited registration, rather than what the evidence shows the services to

      be. In re Dixie Restaurants Inc., 105 F.3d 1405, 41 USPQ2d 1531, 1534 (Fed.

      Cir. 1997). The registrant’s services are broadly identified as providing

      sexually explicit video programming, without any limitation as to the specific

      nature of the sexually explicit material; therefore, they would encompass

      sexually explicit gay male adult entertainment, the same subject matter of

      Applicant’s services.

            Because Applicant’s Class 35 and 38 services are highly similar to the

      registrant’s services, and its Class 41 services are legally identical, the du

      Pont factor of the similarity of the marks favors a finding of likelihood of

      confusion. Further, because legally identical services must be deemed to

      travel in the same channels of trade, and because the consumers of

      Applicant’s Class 35 and Class 38 services would be the same consumers for

      the registrant’s Class 41 services which, as identified, would include gay male




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      adult entertainment, this du Pont factor also favors a finding of likelihood of

      confusion.

            We next consider the du Pont factor of the similarity of the marks,

      which analysis also includes consideration of the strength of the cited

      registration, and the number and nature of similar marks in use for similar

      goods and services.

            We first consider the evidence of third-party registrations. Third-party

      registrations are not evidence that the marks depicted therein are in use, or

      that the public is familiar with them. See In re Albert Trostel & Sons Co.,

      supra. However, they may be used in the manner of dictionary definitions, to

      show that a term has a particular significance for the goods or services at

      issue. Tektronix, Inc. v. Daktronics, Inc., 534 F.2d 915, 189 USPQ 693 (CCPA

      1976) (“[A]lthough third-party registrations are entitled to little weight on

      the question of likelihood of confusion where there is no evidence of actual

      use, they may be given some weight to show the meaning of a mark in the

      same way that dictionaries are used.”), quoted in In re Mighty Leaf Tea, 601

      F.3d 1342, 94 USPQ2d 1257, 1259 (Fed. Cir. 2010). Applicant has submitted

      over 140 third-party registrations for marks containing the word JUICY

      (Exhibit 1 to request for reconsideration filed February 28, 2013, pp. 7-150).

      However, the vast majority of these registrations are for goods and services




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      very different from the services at issue herein,7 and therefore have little

      value in showing the significance of JUICY for these services. In fact, there

      are only two third-party registrations for goods having a sexual theme, i.e.,

      Registration No. 3253669 for JUICY SUSHI for inflatable life sized dolls used

      in sexual activity and adult sexual aids, and Registration No. 4279349 for

      JUICY LUBE for personal lubricants. Two registrations would normally not

      be sufficient to show that a term has a particular significance, but Applicant

      has also submitted dictionary definitions for “juicy” which include “3 b:

      SENSATIONAL, RACY <a juicy scandal> c: full of vitality: LUSTY.”8

      Coupled with the dictionary definitions, these registrations suggest that

      when JUICY is used in connection with adult videos and services related

      thereto, it would convey those dictionary meanings.

            Applicant has also submitted excerpts from seven third-party adult-

      oriented websites that include the word juicy or have this word in their

      URLs:9

            URL is xxxjuicy.com. Webpage has JUICY ENTERTAINMENT
            used in the manner of a trademark or trade name, with the text:
            Juicy Entertainment has over ten years experience providing
            quality entertainment to adult industry patrons. A
            straightforward approach to business, plus insight into
            consumer trends made Juicy a leader in the production and
            distribution of adult movies. … With a massive library, Juicy
            Entertainment delivers sexy and erotic content on an array of


      7  See, for example, Registration No. 3539085 for NATURALLY JUICY for fruit
      juices, Registration No. 3144935 for JUICY SOUR TWISTS for candy, and
      Registration No. 1910385 for THICK ‘N JUICY for meat patties.
      8 Merriam-webster.com, submitted with June 8, 2012 response, p. 14.
      9 Submitted with June 8, 2012 response.




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            delivery platforms for even the most unique and discerning
            tastes.
            p. 18.

            URL is juicygals.com and the portion of the webpage submitted
            prominently features JuicyGals.com, and includes the text “Porn
            Tube Movies-Most Popular Categories”
            p. 20

            URL is JUICYCLIPS.COM, and the text prominently features
            “JUICYCLIPS.COM - Daily Free Porn Movies”
            p. 21

            URL is juicydvd.com, and the term JUICYDVD.COM is featured
            in the portion of the webpage submitted, which also includes the
            text “Your Favorite Adult DVD Library”
            p. 23.

            URL is juicyvideos.com, and the portion of the webpage
            submitted features JUICY VIDEOS in the manner of a
            trademark, and the words “Free Porn Videos-Popular Categories
            p. 20

            URL is juicynetwork.com, but webpage does not include the
            word JUICY; rather it has JN CAM2CAM EROTIC WEB CAM
            NETWORK.
            p. 19

            URL is hotmovies.com, the webpage excerpt has a shield/crest
            device that contains a heart with the words JUICY CHICKS,
            phrases in the excerpt include “streaming videos” and
            “downloadable content.”
            p. 22

            Significant third-party usage of a particular term in trademarks can

      result in a conclusion that consumers will look to other elements of a mark to

      distinguish one mark from another. However, the evidence of third-party use

      submitted by Applicant is not sufficient for us to reach such a conclusion in

      this case. First, the last two excerpts do not show use of JUICY as a




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      trademark; the juicynetwork.com webpage does not even reference the word

      JUICY except in the URL, while in the hotmovies.com excerpt JUICY

      CHICKS in the heart design is likely to be viewed as merely informational

      rather than as a trademark. Thus, we are left with, at most, five instances of

      JUICY used in what are arguably third-party marks used in the field of adult

      entertainment.10 However, there is no real evidence as to public exposure of

      even these five marks, or that the public would be familiar with them, and

      therefore would be used to distinguishing between the five based on other

      elements. Obviously these marks or usages are accessible through the

      Internet, and therefore could be found by someone doing a search for them,

      but the mere fact that the websites can be found on the Internet does not

      mean that the public would be aware of them. As our primary reviewing

      court said in another context, “It is indeed remarkable to see the

      thoroughness with which NEXIS can regurgitate a placename casually

      mentioned in the news.” In re Societe Generale des Eaux Minerales de Vittel

      S.A., 824 F.2d 957, 3 USOQ2d 1450, 1451 (Fed. Cir. 1987). Similarly, given

      that so many companies have websites, the mere fact that a website can be

      found in which a particular word is used in a trademark does not mean that

      the public is familiar with that trademark.




      10 We give no probative value to the third-party usage of JUICY marks for goods
      and services in different fields, e.g., JUICY COUTURE for fashion apparel, JUICY
      FRUIT for gum, JUICY JUICE for fruit juice. See Exhibit 7 to June 8, 2012
      response, pp. 31-44.


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             Applicant has attempted to show public awareness of these third-party

      uses by submitting traffic reports from the website www.alexa.com regarding

      the JUICY websites.11 This evidence, however, fails to persuade us that

      consumers are familiar with these various JUICY trademarks. For example,

      the Alexa report on juicyvideos.com states that for an unidentified three-

      month period (the webpages were printed on February 27, 2013), the website

      had a traffic rank of 30,048 in the United States, with visitors to the site

      spending approximately two minutes per visit.12 There is no real information

      about how the Alexis.com website works, how the numbers shown in the

      traffic reports were obtained or calculated, or the actual number of visitors to

      each website. In view thereof, we find that the du Pont factor of the number

      and extent of similar marks in use on similar goods and services to be

      neutral. See Stone Lion Capital Partners, LP v. Lion Capital LLP, 746 F.3d

      1317, 110 USPQ2d 1157, 1160 (Fed. Cir. 2014), approving the Board’s

      attaching “little importance to internet printouts referencing third-party

      investment groups with ‘LION’ in their name, stating that such ‘third-party

      evidence … generally has minimal probative value where, as here, it is not

      accompanied by any evidence of consumer awareness.’”




      11 Some of the traffic reports are for additional websites with “juicy” in their URLS,
      e.g., juicyladies.com, see Exhibit 20 to request for reconsideration filed February 28,
      2013, pp. 387-396, but because Applicant did not submit any webpages from these
      websites, we can draw no conclusions about the goods or services offered through
      those websites, or even whether they use JUICY trademarks.
      12 Request for reconsideration filed February 28, 2013, pp. 177-186.




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            Applicant has cited In re Hartz Hotel Services Inc., 102 USPQ2d 1150

      (TTAB 2012), in support of its statement that “the addition even of a

      descriptive term to the registered mark may be sufficient to overcome a

      challenge to registration based on likelihood of confusion.” Brief, 14

      TTABVUE 12. However, the facts in that case are very different from those

      herein, including the fact that there were a large number of third-party

      registrations for GRAND HOTEL for the services at issue in that case, as

      opposed to only two third-party registrations for JUICY marks for goods even

      arguably related to the services herein, let alone being for identical services,

      and the fact that there was actual evidence of numerous third-party uses of

      GRAND HOTEL marks as shown by the declaration of a private investigator.

            In summary, although we give the evidence of third-party use limited

      probative value, based on the dictionary definitions and adoption of the term

      JUICY in marks in the adult entertainment field, we accept that the term

      JUICY has a suggestive significance, and that the cited registration is not

      entitled to a broad scope of protection. With that in mind, we turn to a

      comparison of the marks.

            Applicant’s mark begins with JUICY, which is the entirety of the cited

      mark. Applicant’s mark also includes the word BOYS, while the cited mark

      does not. This additional word results in some differences in the marks, e.g.,

      the additional syllables and letters of the word BOYS, and the additional

      sound caused by this word. However, the word JUICY in Applicant’s mark is




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      not affected by the addition of the word BOYS; JUICY still retains its

      appearance and sound and meaning. The descriptive and disclaimed word

      BOYS in Applicant’s mark does not distinguish JUICY BOYS from JUICY, it

      merely serves to provide additional information about the subject matter of

      the services, i.e., that it is gay male adult entertainment. Consumers would

      not regard this term as indicating a different source of the adult

      entertainment services. If anything, consumers would understand JUICY

      BOYS to be merely a variation of the JUICY mark for such services, in which

      the subject matter of the services is made more explicit.

            We note Applicant’s argument that its mark “is a coined mark with no

      established definition.” Brief, 14 TTABVUE 11. Applicant apparently takes

      this position because Applicant’s mark is depicted with no space between the

      words JUICY and BOYS. However, it is readily apparent to anyone viewing

      the mark that the mark consists of these two words. Thus, we find that

      Applicant’s mark falls under the line of case law holding that the addition of

      a term to a registered mark does not obviate the likelihood of confusion. See

      cases cited in Examining Attorney’s appeal brief, 16 TTABVUE 7.

            We add that in finding the marks similar we have taken into

      consideration the suggestive meaning of JUICY in connection with adult

      entertainment services, and have accorded the cited registration a more

      limited scope of protection as a result. However, even suggestive marks are

      entitled to protection against the registration of a similar mark for identical




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      and closely related services, as is the case here. As previously discussed, the

      additional word BOYS in Applicant’s mark does not result in Applicant’s

      mark conveying an overall different meaning or commercial impression from

      the cited mark. Thus, in the particular fact situation we have here, with

      identical and closely related services, and the additional element in

      Applicant’s mark merely providing further information about the nature of

      the services, the scope of protection accorded to the cited registration extends

      to prevent the registration of Applicant’s mark.

            Decision: The refusal of registration as to all three classes of services in

      Applicant’s application is affirmed.




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